Case 2:22-cv-05001-BRM-JRA Document1 Filed 08/10/22

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

TYRONE FUQUAN ELLISON,
Plaintiff,

The State of NEW JERSEY; and,

VICTORIA L. KUHN, in her capacity as the:

Commissioner of the New Jersey
Department of Corrections; and, WILLIE
BONDS in his capacity Assistant
Commissioner for the Department of
Operations; and, DAVID SCOTT in his
capacity as Assistant Commissioner of the
Division of Training, Recruitment and
Professional Development, and

CORRECTIONS OFFICER LYNCH, both :

personally and in his official capacity; and,
CORRECTIONS OFFICER ACEBO, both
personally and in his official capacity; and,

CORRECTIONS OFFICER VARGAS, both:

personally and in his official capacity; and,
CORRECTIONS OFFICER COOK, both
personally and in her official capacity.

Defendants,

Civil Action No.:

COMPLAINT

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COME NOW Plaintiff TYRONE FUQUAN ELLISON, by and through his undersigned

attorney, and complains as follows:

VENUE AND JURISDICTIION

i. The Court has subject matter jurisdiction under 28 U.S.C. secs. 1331,1343.
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2 The Court has personal jurisdiction of the Defendants because each acted, acts,
and threatens to act under the color of the law of the State of New Jersey and each did so, does so
and threatens to do so within the geographic confines of the Sate and District of new Jersey.

a Venue is proper in this district pursuant to 28 U.S.C. sec. 1391(b)(1)-(2).

PARTIES

4, Plaintiff TYRONE FUQUAN ELLISON residing in The Adult Diagnostic and
Treatment Center, Special Treatment Unit, 8 Production Way, Avenel, New Jersey 07001; his
SBI number is 277179C, and his Jail ID is 610.

5. Defendant VICTORIA L. KUHN, is the Commissioner of the New Jersey
Department of Corrections she is named as a defendant in her official capacity as such.

6. Defendant WILLIE BONDS is Assistant Commissioner for the Department of
Operations for the New Jersey Department of Corrections and is named as a defendant in his
official capacity as such.

de Defendant DAVID SCOTT is Assistant Commissioner of the Division of
Training, Recruitment and Professional Development for the New Jersey Department of
Corrections and is named as a defendant in his official capacity as such.

8. Defendant CORRECTIONS OFFICER LYNCH, is a corrections officer
employed by the New Jersey Department of Corrections and is named as a defendant both
personally and in his official capacity as such.

9, Defendant CORRECTIONS OFFICER ACEBO, is a corrections officer
employed by the New Jersey Department of Corrections and is named as a defendant both

personally and in his official capacity as such.
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10. Defendant CORRECTIONS OFFICER VARGAS, is a corrections officer
employed by the New Jersey Department of Corrections and is named as a defendant both
personally and in her official capacity as such.

11. Defendant CORRECTIONS OFFICER COOK, is a corrections officer employed

by the New Jersey Department of Corrections and is named as a defendant both personally and in

her official capacity as such.

SUMMARY OF INCIDENT

LZ. On August 11, 2020, Plaintiff was at his room talking on a cell phone, contrary to
facility rules. He was approached by Defendants Corrections Officers Acebo and Lynch.

13. Defendants Corrections Officers Acebo and Lynch took the phone from Plaintiff.

14. Defendants Corrections Officer Lynch, and Corrections Officer Acebo, beat
Plaintiff and placed Plaintiff in to a chokehold.

13, After being released from the chokehold Plaintiff ran for fear of his life, while
running, he was pepper sprayed by Defendant Corrections Officer Cook, Plaintiff was then
placed in restraints.

16. While in restraints, including but not limited having his hands cuffed behind his
back, Plaintiff was pepper sprayed by Coercions Officer Vargas.

17. Plaintiff was then dragged into the shower was soaked while clothed by
Corrections Officers and taken to the infirmary.

18. Prior to this incident, Defendant Corrections Officer Lynch subjected the Plaintiff
to harassment on the basis of Plaintiff alleged or perceived sexual preference, exclaiming “I hate

homos” and that Plaintiff was a, “Fucking faggot.”
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19. As a result of this assault, Plaintiff suffered injury to his neck, skin, eyes, back,
knees, elbows, and hands, as well as anxiety, fear and depression.

20, Plaintiff was unduly punished for the event and was placed in solitary
confinement with the removal of his privileges and was deprived of regular and complete health
care service for his injuries.

£9. Defendant Corrections Officer Lynch continued to harass and threaten the
Plaintiff on the basis of his alleged or perceived sexual preference, stating “I only went 50% on
you and next time I will go 150%”. Defendant Corrections Officer Lynch further threatened that
“T will crush your esophagus,” while continuing to call Plaintiff derogatory names based on his

alleged or perceived sexual preference.

CAUSE OF ACTION FOR DEPRAVATION OF FOURTEENTH AMENDMENT

RIGHTS UNDER 42 U.S.C. sec. 1983

20. Defendant Corrections Officer Lynch acts of harassment, verbal and physical
abuse and assault based are clearly based on the Defendants’ perception of the Plaintiff’s sexual
preference.

al Defendants Corrections Officers Acebo, Vargas, and Cook, not only failed to
prevent Lynch’s acts, but participated in same.

22. Although Plaintiff was in violation of the rules of the facility, the actions of the
Defendant Corrections Officers, in their excessive and brutal force, intimidation, and threats as a
reaction to a minor violation was clearly motivated by the perceived sexual preference of

Plaintiff and as such actionable under 42 U.S.C. sec. 1983, as a depravation of the Plaintiff’ s

Fourteenth
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Amendment rights by parties acting under color of law and the authority of the State of New

Jersey.

CAUSE OF ACTION FOR DEPRAVATION OF FOURTEENTH AMENDMENT

RIGHTS UNDER 42 U.S.C. sec. 1983

23. The Corrections Officer defendants, were employed, trained, regulated, and
deployed at the direction of the New Jersey Department of Corrections and more specifically by
the Commissioner of the New Jersey Department of Corrections, the Assistant Commissioner of
the Department of Operations for the New Jersey Department of Corrections, and the Assistant
Commissioner of the Division of Training, Recruitment and Professional Development for the
New Jersey Department of Corrections.

24. =‘ The negligent employment, training, regulation, and supervision of the
Corrections Officer defendants, lead directly to the extreme brutality exhibited by the
Corrections Officer Defendants and the disproportional punishment received by the Plaintiff for
a minor violation of the rules of the prison.

25. This disproportionate punishment and enforcement, including but not limited to
the brutal and extreme reaction to a minor violation of jail rules, is a result of the negligent and
palpably unreasonable training and supervision of the Corrections Officer Defendants by
Defendants Kuhn, Bonds, and Scott is actionable under 42 U.S.C. sec. 1983, as a depravation of
the Plaintiffs Fourth Amendment rights by parties acting under color of law and the authority of
the State of New Jersey.

PRAYER

WHEREFORE, Plaintiff prays for the following relief:
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1 Monetary damages from the physical and mental pain and suffering
caused by the Defendants. As these complaints are ongoing and
permanent, the damages are unliquidated.

il. Defendants’ actions were willful, wanton, and reckless and subjected the
Plaintiff to a risk of death or extreme bodily and emotional harm and
thereby subjects the defendants not only to compensatory damages, but
punitive damages as well.

ii. Attorney’s fees, costs, and interest in accordance with 42 U.S.C. sec.1988.

JURY DEMAND

The Plaintiff demands trial by jury of all issues so friable pursuant to Rule 38 of the

Federal Rules of Civil Procedure.

Dated: August Ib, 2022

G. Harrison Walters

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